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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 0:24-cv-60530-AHS

TESLA, INC.,

        Plaintiff,
v.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

        Defendants.
                                            /

                              NOTICE OF VOLUNTARY DISMISSAL
                              AS TO CERTAIN DEFENDANTS ONLY

        PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

Plaintiff hereby voluntarily dismisses without prejudice all claims against the following Defendant:

                              HERO WORLD LIMITED (DOE 63)

Date:    May 3, 2024                            Respectfully submitted by,

                                                Richard Guerra
                                                Richard Guerra (Fla. Bar No. 689521)
                                                Email: rguerra@brickellip.com
                                                THE BRICKELL IP GROUP, PLLC
                                                1101 Brickell Avenue, South Tower, Suite 800
                                                Miami FL, 33131
                                                Telephone: (305) 728-8831

                                                Attorneys for Plaintiff
